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  7   JASON BROWN

  8                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  9
 10   JASON BROWN,                            )   Case No.: 2:14-CV-4787 BRO
 11                                           )   (JCx)
                   Plaintiff,                 )
 12                                           )   PLAINTIFF'S NOTICE OF
 13         vs.                               )   DISMISSAL WITHOUT
                                              )   PREJUDICE
 14   YARDI SYSTEMS, INC.                     )
 15                                           )
                   Defendants.                )
 16                                           )
 17                                           )
                                              )
 18
 19         NOTICE IS HEREBY GIVEN that pursuant to Fed.R.Civ.Pro. 41(a), Plaintiff
 20   voluntarily dismisses Defendant YARDI SYSTEMS, INC. without prejudice.
 21   Dated: August 4, 2014                Respectfully Submitted:
 22                                        For Plaintiff, JASON BROWN
 23                                        /s/ Stephanie R. Tatar
 24                                        Tatar Law Firm, APC
                                           3500 West Olive Ave. Ste. 300
 25
                                           Burbank, CA 91505
 26
 27
                                              1
            NOTICE OF DISMISSAL OF DEFENDANT YARDI SYSTEMS, INC. WITHOUT PREJUDICE
